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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

DEBORAH LAUFER,
         Plaintiff,

v.                                                            Case No: 20-366


FIRST STREET GROUP, LLC,
          Defendant.

                    PLAINTIFF’S SUPPLEMENTAL MEMORANDUM
                      IN OPPOSITION TO MOTION TO DISMISS

       Plaintiff, by and through undersigned counsel, and pursuant to Order of Court, hereby

submits this Memorandum in Opposition To Defendant’s Motion To Dismiss, filed at DE 12.

I.     Spokeo v. Robins Supports Plaintiff’s Standing

       The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

supports the conclusion that Plaintiff has standing in this case. In Spokeo, the Supreme Court

held that improper information which violated the Fair Credit Reporting Act did not, by itself,

constitute injury. However, the Spokeo Court specifically recognized the existence of statutes

which provide that the dissemination of improper information constitutes an injury with nothing

more required. In this regard, the Spokeo Court stated:

               Just as the common law permitted suit in such instances, the violation of a
       procedural right granted by statute can be sufficient in some circumstances to constitute
       injury in fact. In other words, a plaintiff in such a case need not allege any additional
       harm beyond the one Congress has identified. See Federal Election Comm’n v. Akins,
       524 U. S. 11, 20-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that a group of
       voters’ “inability to obtain information” that Congress had decided to make public is a
       sufficient injury in fact to satisfy Article III); Public Citizen v. Department of Justice, 491
       U. S. 440, 449, 109 S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (holding that two advocacy
       organizations’failure to obtain information subject to disclosure under the Federal
       Advisory Committee Act “constitutes a sufficiently distinct injury to provide standing to


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       sue”).

Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court,

in turn, referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
       when the plaintiff fails to obtain information which must be publically disclosed pursuant
       to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
       (deprivation of information about housing availability constitutes "specific injury"
       permitting standing).

Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty,

but instead acknowledged the body of law to which Havens Realty belongs.1 Indeed, the

concurring opinion in Spokeo expressly recognized Havens Realty. Spokeo, 136 S.Ct. at 1553

(Thomas J., Concurring). Havens Realty was also recognized in Spokeo’s dissent. 136 S.Ct. At

1555 (Ginsburg, J. Dissenting).

       A helpful analysis can be found in the Seventh Circuit’s opinion in Carello v. Aurora

Policemen Credit Union, 930 F. 3d 830, 832-33 (7th Cir. 2019), which recognized the existence

of strictly informational injury created by Congress. This occurs when the defendant fails to

provide information to a plaintiff that a law entitles him to obtain and review for some

substantive purpose. Id. at 835. “Once that occurs, there is no additional requirement that the

plaintiff suffer any additional harm beyond his or her failure to receive the information that the

law renders subject to disclosure. Id., citing Spokeo. Specifically, the Carello Court stated:

       An informational injury occurs when the defendant refuses to provide the plaintiff with
       information that a law—typically, a sunshine law—entitles him to obtain and review for
       some substantive purpose. See, e.g., Fed. Election Comm'n v. Akins, 524 U.S. 11, 21,


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         In Marod, passim, this Circuit Court found substantial similarities between the ADA and
the statute at issue in Havens Realty with regard to the issue of standing and the lack of any
motive requirement of the individual plaintiff.

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       24-25, 118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (concluding that voters' inability to
       obtain information subject to disclosure under the Federal Election Campaign Act of
       1971 is a sufficiently concrete injury); Pub. Citizen v. U.S. Dep't of Justice, 491 U.S. 440,
       449, 109 S. Ct. 2558, 105 L. Ed. 2d 377 (1989) (explaining that, to satisfy Article III's
       injury requirement, advocacy organizations requesting information subject to disclosure
       under the Federal Advisory Committee Act need only show "that they sought and were
       denied" the information); Casillas [v. Madison Ave., Assoc., 926 F.3d 329,] 337-38 [(7th
       Cir. 2019)] ("[Akins and Public Citizen] hold that the denial of information subject to
       public disclosure is one of the intangible harms that Congress has the power to make
       legally cognizable." (emphasis omitted)). In such cases, a plaintiff "need not allege any
       additional harm beyond" his failure to receive information that the law renders subject to
       disclosure. Spokeo, 136 S. Ct. at 1549.

       Spokeo involved a statute which required that the defendant provide accurate information

to third parties. By contrast, the ADA and Regulation require that the Defendant’s online

reservations service provide certain required information directly to the Plaintiff, in addition to

the option to book an accessible room in the same manner as for non-accessible rooms. Failure to

do so gives rise to the very sort of informational injury recognized as actionable. In short, the

Plaintiff’s encounter with the discriminatory website IS the injury and there is simply no

additional requirement that they visit the hotel or intend to book a room at the hotel. Indeed, the

encounter with the prohibited discrimination occurs in the plaintiff’s own home.

       Although not an ADA case, the Supreme Court’s decision in Bates v. United States, 522

U.S. 23 (1997) is helpful. There, the Court analyzed whether a lower court could properly impose

an intent requirement into a criminal statute and held that because such a requirement was

present in a different subsection, but missing from the one at issue, that it could not be judicially

imposed. Id. at 29-30.

       Numerous Circuit Courts have followed Havens Realty Corp. v. Coleman, 455 U.S. 363

(1982) in recognizing informational injury. Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898,



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904 (2nd Cir. 1993)(black testers had standing to sue over discriminatory advertisement even

though they had no intention of renting apartment); Bensman v. United States Forest Serv., 408

F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is

recognized and actionable); Watts v. Boyd Properties, 758 F.2d 1482 (11th Cir. 1985)(tester who

had no intention of renting apartment had standing to sue for receiving misleading information

from defendant about apartment availability); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979,

989 (6th Cir. 2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251,

1258-60 (9th Cir. 2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d 1277,

1290 (10th Cir. 2004)(Title II ADA tester has standing to sue for failure to provide required

information); In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir.

2016)(recognizing intangible harm as including unlawful denial of access to information subject

to disclosure).

II.    The Third Party ORS Providers Are Not Indispensable Parties

       The Regulation imposes liability on Defendant for its discriminatory online system, even

if operated through third parties. 28 C.F.R. Section 36.302(e)(1) (the “Regulation”), provides:

       (1)Reservations made by places of lodging. A public accommodation that owns, leases
       (or leases to), or operates a place of lodging shall, with respect to reservations made by
       any means, including by telephone, in-person, or through a third party -

(Emphasis added.)

       Thus, the Regulation is unequivocally clear and imposes liability on hotels which operate

discriminatory reservations systems through third parties. The DOJ, which promulgated this

Regulation, issued guidelines on the subject at issue. In this regard, the DOJ stated:

       Hotels and organizations commenting on their behalf also requested that the language be


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        changed to eliminate any liability for reservations made through third parties, arguing that
        they are unable to control the actions of unrelated parties. The rule, both as proposed and
        as adopted, requires covered public accommodations to ensure that reservations made on
        their behalf by third parties are made in a manner that results in parity between those who
        need accessible rooms and those who do not.
                Hotels and other places of lodging that use third party reservations services must
        make reasonable efforts to make accessible rooms available through at least some of these
        services and must provide these third party services with information concerning the
        accessible features of the hotel and the accessible rooms. To the extent a hotel or other
        place of lodging makes available such rooms and information to a third party reservation
        provider, but the third party fails to provide the information or rooms to people with
        disabilities in accordance with this section, the hotel or other place of lodging will not be
        responsible.

Guidelines for 28 C.F.R. Part 36, Nondiscrimination on the Basis of Disability in Public

Accommodations and Commercial Facilities, Exhibit A attached hereto, p. 133. Thus, it is

plainly clear that a hotel is directly liable for any failure of its online reservations system to

comply with the Regulation, even if operated through third parties. See Parks v. Richard, 2020

U.S. Dist. Lexis 127639, passim (M.D. Fla. 7/21//20)(hotel liable for discrimination through

third party sites).

        Moreover, the third party providers are not liable to the Plaintiff. At least one court has

rejected the argument that these are indispensable parties. See Kennedy v. New Yorker Hotel

Miami, LLC, 0:18-62897, DE 34, pp. 5-7 (S.D. Fla. 6/6/19).

        The DOJ’s guideline addressed the Regulation’s applicability to third parties. See

Plaintiff’s Exhibit B, filed at DE 14-2. On this point, the DOJ states:

                In the NPRM, the Department sought guidance concerning whether this
                requirement should be applied to third party reservations services. Comments
                made by or on behalf of hotels, resort managers, and other members of the lodging
                and resort industry pointed out that, in most cases, these third parties do not have
                direct access to this information and must obtain it from the hotel or other place of
                lodging. Because third party reservations services must rely on the place of
                lodging to provide the requisite information and to ensure that it is accurate and


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                 timely, the Department has declined to extend this requirement directly to third
                 party reservations services.
Id. p. 134.

        By this language, the DOJ made clear that the Regulation does not impose liability on

third party booking systems because they do not have direct access to the information required.

This information is in the exclusive possession of the hotel and any failure to comply with the

Regulation is the hotel’s fault.

        The Statute itself is devoid of any language that would give Plaintiff a right of action

against the third parties. 42 U.S.C. Section 12182(a) only imposes liability on any person “who

owns, leases (or leases to), or operates a place of public accommodation.” The other third party

providers do not fall within any of these categories. See Huzar v. Groupon, Inc., 2018 U.S. Dist.

Lexis 126653, *9-11 (N.D. Ill, 2018)(applying this reasoning to hold that third parties cannot be

liable to plaintiff).

         Most importantly, these online reservations systems post information about the hotel that

was provided exclusively by the Defendant. They had no other means of obtaining the

information relevant to the hotel. By booking available rooms for the hotel, they ostensibly work

in close integration with the Defendant’s own system. Typically, hotels have direct access, with

usernames and passwords) to their own hotel sites located with the third parties and upload the

information themselves. The failure of those reservations systems to comply with the Regulation

is solely the Defendant’s fault.

        Moreover, if Defendant claims that these third parties share the fault, then Defendant is

free to add them as third party defendants for any breaches on their part. See Fed. R. Civ. P. 14.

III.    The Holding In Harty v. West Point Realty Is Flawed


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       Recently, one court ruled that a plaintiff lacks standing to sue under an ORS case. See

Harty v. West Point Realty, Inc., 7:19-cv-8800-VB, DE 29 (S.D. N.Y. 8/7/20). This case was

appealed to the United States Court Of Appeals For The Second Circuit, No. 20-2672. The briefs

have not yet been submitted in that case. Plaintiff submits that the Harty decision is based on

reversible error for several reasons.

       First, the Harty court refused to consider Harty’s affidavit and therefore ignored the

evidence submitted by the plaintiff that he intended to visit the area and needed to stay in hotels.

Id. at 8-9. By contrast, this Court can consider Laufer’s affidavit on the same point. Additionally,

the court acknowledged that the plaintiff had pled that he intended to revisit the hotel’s ORS to

test it for compliance “and/or to utilize the website to reserve a guest room and otherwise avail

himself of the ... accommodations of the Property.” Id. p. 7. Despite this acknowledgment, the

court then stated that: “The complaint’s allegations, taken as true, suggest only that plaintiff

intends to return to the online reservation systems to test for statutory violations of the ADA

visà-vis 28 C.F.R. § 36.302(e)(1).” Id. at 7. Thus, the Harty court refused to consider evidence

and ignored the allegation that Harty intended to stay in area hotels. This stands in stark contrast

to the present instance, where Laufer submitted an affidavit indicating her visits to New York

and stay in hotels. DE 14-1, para. 5.

       The Harty court also committed reversible error when it held that the allegations did not

show the plaintiff’s “plausible intention or desire to return” to the websites but for the barriers to

access. Id. at 7. In this regard, the court made an improper credibility determination, in violation

of the standards discussed in Dorchester Fin. Sec, Inc. v. Banco BRJ, S.A., 722 F.3d 81, 87 (2nd

Cir. 2013)(where the jurisdictional disputed is interwoven with the underlying merits, the court


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must apply the standards of Rule 56 or 12(b)(6) and cannot make a credibility determination.

Moreover, in contrast to the Harty case, Laufer presented an affidavit which explained her

system of maintaining a list of all hotels she has sued, marking the dates she visits the ORS of

each, then revisits the same shortly after the case is filed, and again when the time arrives for the

hotel’s ORS to be required to be compliant. DE 14-1, at para. 8. Under Parks v. Richard, 2020

U.S. Dist. Lexis 86790, at *7 (M.D. Fla. 2020), such a system of rechecking suffices to establish

standing on this point.

       The Harty court also held that plaintiff failed to “set forth any allegations suggesting

[Harty’s] ability to” visit the websites. Id. at 7-8. In this regard, the court demonstrated a

complete misunderstanding of the nature of ORS discrimination. This was not a claim based on

compatibility with screen reader software, where a vision impaired individual thus has difficulty

in reviewing a commercial website. By contrast, an ORS case involves the failure of a hotel to

provide the information that is required by the Regulation. The ability to navigate the ORS is not

relevant.

       In Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898 (2nd Cir. 1993), the Second

Circuit held that individuals had standing to sue under the Fair Housing Act for the defendant’s

placement of display advertising for residential apartments in the newspaper because all the

models portrayed in the ad were white. The Court recognized that the plaintiffs had no actual

intent to rent an apartment. The Second Circuit followed Havens Realty and stated as follows:

               There is no significant difference between the statutorily recognized injury
       suffered by the tester in Havens Realty and the injury suffered by the Ragins and the
       Cuylers, who were confronted by advertisements indicating a preference based on race.
       [citation omitted.] Given the private attorney general provision in section 813(a) of the
       Act and the Supreme Court's holding in Havens Realty, the district court was constrained


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        to find that the individual plaintiffs had standing to bring this action in federal court.

6 F.3d at 904. Thus, in Ragin, there was never an issue as to whether or not the plaintiff’s were

able to access or read the advertisement. The issue was solely based on the information presented

in that ad.

        At pp. 8-9 of its opinion, the Harty court misread Juscinska v. Paper Factory Hotel, LLC,

2019 U.S. Dist. Lexis 92550 (S.D.N.Y. 2019) as holding that intent to book a room is a

requirement. However, the Juscinska court only noted in dicta that the plaintiff had the intention

of booking a room. It never held that such an intent was required. Noting that the plaintiff

intended to book a room is far different from holding that such intent is a requirement of the law.

        The Harty court also misread Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis

209202 (S.D.N.Y. 2019). In Camacho, the defendant had challenged plaintiff’s intent on the

basis that he had filed 50 similar complaints regarding the websites of schools all over the

country. 2019 U.S. Dist. Lexis 209202, at *29. The court addressed this argument as follows:

        Defendant notes that Plaintiff's allegation that he "intends to visit Defendant's school in
        the near future if he could visit their website" is present in many, if not all, of the other
        complaints. []. From this, Defendant urges the Court to intuit that this allegation, as it
        appears in the Second Amended Complaint, should be discredited.[]. If Plaintiff were to
        visit each of the schools named in those complaints, he would be forced to travel to 42
        cities across 19 states. []. Doubting the feasibility of such an expansive college tour,
        Defendant argues that the Second Amended Complaint does not adequately plead an
        intent to visit Defendant's school, and thus has not alleged facts that make it "reasonable
        to infer that Plaintiff's expressed intent to return to the Property is likely to materialize
        into fact sometime in the future." []
        Defendant's argument, built around citations to cases involving ADA claims relating to
        access to physical locations, misses the mark. Plaintiff has claimed that he was denied
        access to the Website, not Defendant's physical location itself. Thus, Defendant [sic] need
        not have shown that he intended to "return" to Defendant's school in Nashville,
        Tennessee. He is only required to have established a reasonable inference that he intended
         to return to the Website, and the Court has found that this requirement is met. To the
        extent it is relevant, Plaintiff has also clarified that he does not intend to visit each of the


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        schools against which he has filed complaints. [] Rather, he wishes to visit each of the
        schools' websites, learn more about them, and then make an informed choice regarding
        which schools it would be worth visiting in person.[]. The Court does not doubt that it
        would be plausible for Plaintiff to visit the websites of all 50 schools, if they were
        accessible.

Id. at. ** 29-31. Thus, regardless of whether or not the plaintiff intends to visit the subject

property, the real issue is whether or not the plaintiff intends to visit the website.

IV.     Recent And Other Decisions

        Other courts have recently ruled on the matter of standing. In Kennedy v. Italia, LLC,

0:19-cv-61938-MGC, DE 35 (S.D. Fla. 8/10/20), another court rejected the argument made at DE

17 that the plaintiff must intend to book a room at the hotel..

        In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D. Ga. 7/1/20),

one court granted default judgment after an evidentiary hearing, finding that the plaintiff suffered

discrimination when she visited the non-compliant ORS. The court additionally found that the

plaintiff had standing because she visited the ORS both before and after the lawsuit was filed

“for the purpose of assessing the accessibility features of the property and to ascertain whether

those sites met her accessibility needs as well as the requirements of 28 C.F.R. § 36.302(e)(1).”

Id. at p. 5.

        In Kennedy v. Nisha Inc., 8:20-cv-367-TPB-CPT, DE 34, pp. 6-8 (M.D. Fla. 9/17/20),

one court recently rejected the argument that a tester must intend to book a room at a hotel in

order to have standing to sue for ORS violations. The court noted both public policy arguments

weighing both in favor of and against such reasoning, but ultimately held that, “the weight of the

law, as it currently exists, supports Plaintiff’s argument as to standing.” Id. at 8.

        Other decisions, though not recent, also bear mentioning.


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        In Gonzalez v. Bahar Corp., 2019 U.S. Dist. Lexis 58567, *6 (E.D.N.Y. 2019), one court

in the Eastern District of New York stated that the issue is the plaintiff’s intent to return to the

website, rather than the physical property. The court stated: “Here, [plaintiff’s] desire to return to

the website is especially plausible because this action can be completed by a few keystrokes,

without cost, and at any time. Unlike the plaintiffs in Lujan [v. Defenders of Wildlife, 504 U.S.

538 (1992)], [plaintiff] is not alleging an intent to return to a physical location, let alone a distant

one.

        In Kennedy v. Guru Krupa, Inc., 0:18-cv-63088-WPD, DE 18 (S.D. Fla. 2/26/19), another

court denied a motion to dismiss in a hotel website case, ruling that the pleadings were sufficient

(with respect to nexus).

V.      Laufer v. Arpan and Hernandez v. Caesar’s License

        In Laufer v. Arpan, LLC, 1:19-cv-200-AW-GRJ, DE 45 (N.D. Fla. 9/25/20), one court

recently held that Laufer lacks standing unless she intended to book a room at the hotel. In

Hernandez v. Caesars Licence Co., LLC, 2019 U.S. Dist. Lexis 172456 (D. N.J. 2019), one New

Jersey court held that a plaintiff must intend to book a room in order to have standing to pursue a

claim for ORS violations. For the reasons set forth in Plaintiff’s Response, filed at DE 17, the

Arpan and Herndandez decisions are fundamentally flawed.

VI.     Laufer v. Mann Hospitality

        In Laufer v. Mann Hospitality, LLC, 1:20-cv-620-JRN, DE 15 (W.D. Tex. 9/30/20), one

court held that Laufer lacked standing to pursue her claims regarding a hotel’s discriminatory

ORS. The Mann decision is flawed in that it did not consider the applicable rules of statutory

construction, informational injury, applicable Supreme Court precedent, or the overwhelming


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number of decisions which upheld Plaintiff’s right to sue. Rather the court relied primarily on the

Proximity Test (which considers a plaintiff’s distance from the residence to hotel) and did not

consider that the locus of the injury was in the Plaintiff’s own home.

VII.    The Applicable Standards Regarding Accessibility Information

        The Regulation requires that a hotel’s ORS “Identify and describe accessible features in

the hotels and guest rooms offered through its reservations service in enough detail to reasonably

permit individuals with disabilities to assess independently whether a given hotel or guest room

meets his or her accessibility needs[.]” 28 C.F.R. Section 36.302(e)(1)(ii). The DOJ promulgated

guidelines, attached hereto as Exhibit A, on the issue of the sort of information required. In this

respect, the DOJ stated:

        A number o these commentators pointed out that it can be difficult or impossible to
        obtain information about accessible rooms and hotel features and that even when
        information is provided it often is found to be incorrect upon arrival.

Part 36 Nondiscrimination on the Basis of Disability in Public Accommodations and

Commercial Facilities, at 77. These guidelines are also included as Appendix A to Part 36 to the

Regulation set forth at 28 CFR Part 36. The guideline further states:

                For hotels that were built in compliance with the 1991 Standards, it may be
        sufficient to specify that the hotel is accessible3 and, for each accessible room, to describe
        the general type of room (e.g., deluxe executive suite), the size and number of beds (e.g.,
        two queen beds), the type of accessible bathing facility (e.g., roll-in shower), and
        communications features available in the room (e.g. alarms and visual notification
        devices). Based on that information, many individuals with disabilities will be
        comfortable making reservations.
                For older hotels with limited accessibility features, information about the hotel
        should include, at a minimum, information about accessible entrances to the hotel, the
        path of travel to guest check-in and other essential services, and the accessible route to
        the accessible room or rooms. In addition to the room information described above, these
        hotels should provide information about important feaures that do not comply with the



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        1991 Standards2. For example, if the door to the “accessible room or bathroom is
        narrower than required, this information should be included (e.g. door to guest room
        measures 30 inches clear). This width may not meet current standards abut may be
        adequate for somw wheelchair users who use narroer chairs. In many cases, older hotels
        provide services through alternatieves to barrier removal, for example, by providing
        check-in or concierge services at a different, accessible location...

Id. at 78.

        In other words, a hotel must identify which features are accessible and, with respect to

features that do not comply with the applicable standards, they must describe the manner by

which they deviate.

        The 1991 ADA Standards

        The 1991 Standards are published by the DOJ at ada.gov/1991ADAstandards_index.htm.

These standards are also commonly referenced as “ADAAGs”. The standards applicable to hotels

are as follows: 4.2 space allowance and reach ranges; 4.3 accessible routes; 4.4 protruding

objects; 4.5 ground and floor surface requirements; 4.6 parking and passenger loading zones; 4.7

curb ramps; 4.8 ramps; 4.9 stairs; 4.10 elevators; 4.11 wheelchair lifts; 4.12 windows; 4.13

doors; 4.14 entrances; 4.15 drinking and water coolers; 4.16 water closets; 4.17 toilet stalls; 5.18

urinals; 4.10 lavatories and mirrors; 4.20 bathtubs; 4.21 shower stalls; 4.22 toilet rooms; 4.23

bathrooms, bathing facilities and shower rooms; 4.24 sinks; 4.26 handrails, grab bars and tub and

shower seats; 4.27 controls and operating mechanisms; 4.28 alarms; 4.30 signage; 4.32 fixed or

built-in seating and tables. Further, chapter 7 addresses transaction counters (registration desk)



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         At the time the Regulation was written, the 2010 ADA Standards had not yet been
promulgated. Plaintiff submits that there are only a few differences. For instance, the 2010 ADA
Standards added the requirement that hotel pools contain a pool lift. The standards are also
arranged differently. In substance, however, the two standards are substantially identical with
respect to hotels.

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and chapter 9 addresses other requirements for hotels, such as the required number of accessible

rooms and rooms with roll-in showers.

       In sum, the hotel’s ORS must indicate what features do comply with the 1991 standards

and must also describe how other features do not comply.

VIII. Conclusion

       For the foregoing reasons, Defendant’s Motion is without merit and should be denied.

                                                    Respectfully submitted,

                                                    /s/ Tristan W. Gillespie
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